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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND



AMERICAN COLLEGE OF
OBSTETRICIANS AND
GYNECOLOGISTS,on behalfofits members
and members'patients^
COUNCIL OF UNIVERSITY CHAIRS OF
OBSTETRICS AND GYNECOLOGY,on
behalfofits members and members'patients^
NEW YORK STATE ACADEMY OF
FAMILY PHYSICIANS,on behalfofits
members and members'patients,
SISTERSONG WOMEN OF COLOR
REPRODUCTIVE JUSTICE COLLECTIVE,
on behalfofits members and members'
patients, and
HONOR MACNAUGHTON,M.D.,

       Plaintiffs,
                                                Civil Action No. TDC-20-1320
       V.



UNITED STATES FOOD AND DRUG
ADMINISTRATION,
STEPHEN M.HAHN,M.D., in his official
capacity as Commissioner ofFood and Drugs,
and his employees, agents and successors in
office,
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES and
ALEX AZAR,J.D., in his official capacity as
Secretary, United States Department of
Health and Human Services, and his
employees, agents and successors in office,

       Defendants.




                                        ORDER
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       For the reasons stated in the accompanying Memorandum Opinion, Defendants' Renewed

Motion to Stay the Preliminary Injunction and for an Indicative Ruling Dissolving the Preliminary

Injunction, ECF No. 141, is DENIED.




Date: December 9,2020
                                                    THEODORE D. CHUANG
                                                    United States District Ji
